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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 09-cr-41-05-JL

Yomaira Arias Cordero


                                   O R D E R


      The assented to motion to reschedule jury trial (document no.

103 ) filed by defendant is granted; Final Pretrial is rescheduled

to March 25, 2010 at 10:00; Trial is continued to the two-week

period beginning 4/6/2010, 09:30.

      Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                           _______________________________
                                           Joseph N. Laplante
                                           United States District Judge

Date:    January 20, 2010




cc:   All counsel
      U.S. Marshal
      U.S. Probation
